Case 2:25-cv-00310-JCN Document1-2 Filed 06/13/25

STATE OF MAINE
CUMBERLAND, ss. CIVIL ACTION
DOCKET NO. CV-25-
ROBERT COLLETT,
Plaintiff,
Vv.
COMPLAINT AND DEMAND
WALGREENS EASTERN CO., INC FOR JURY TRIAL

Defendant,

Nee Newer” Nae? Nee Nee ee” Ne ee” ee” Nee” ee” ee” ee”

Plaintiff, Robert Collett (“Plaintiff or “Robert”) seeks judgment and monetary damages
from Defendant Walgreens Eastern Company Incorporated (“Walgreens” or “Defendant”) in
connection with injuries he sustained while attempting to enter the business, store number 19678,

owned by Defendant. Plaintiff does hereby aver, allege and complain against Defendant as

follows:
PARTIES, JURISDICTION AND VENUE

1. Plaintiff Robert Collett is a natural person, resident and citizen of the City of South
Portland, County of Cumberland, State of Maine.

2. Upon information and belief, Defendant Walgreens Eastern Company Incorporated
is a for-profit corporation doing business in the City of South Portland, County of
Cumberland, State of Maine.

3. Upon information and belief, the Defendant owns and operates the premises where

the injuries in the case took place, which is located at 279 Main Street in the City

of South Portland, County of Cumberland, State of Maine.
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_ Defendant was. timely and. ptoperly served Plaintiffs’ Notice of Claim’ on or about

December 7, 2022, and any interest accruéd-in this case begins to accrue as of that ~

- date.

The Court:has jurisdiction over this. action pursiant' to 4 M. R. Ss. A. $105,

Venue i is proper in accordance with 14 M. RS. A. 501.

FACTS S RELATED TO ALL COUNTS
At approximately 4: 30 PM or about December y, 2022, Plaintiff stopped at the
Walgreens Pharmacy (store number 19678) located at 279 Main Street, South
Portland, Maine.
He parked, exited his vebiele. on the’ west side of the. pharmacy and ised the .

sidewalk adjacent to the pharmacy to walk. toward. the main entrance..

The overhead light, which was intended to provide lighting to this area, was

. inoperable at the time...

, 10.
The

12,

13.

Plaintiff was exercising ordinary and-reasonable care while walking when his foot

stopped suddenly as it encountered a defect in the sidewalk.

Without warning, “Plaintiff . was “tripped by the faulty construction andlor.

maintenance of that area of the prethises, causing ‘him ‘to stumble, strike a square

brick column, fall to. the.concrete, and become seriously injured.
_ The. lighting i in the area of the sidewalk defect was extremely poor, swith almost no
- detectable light i in the area of: the detect

~ Upon information and - belief, the sidewalk structure and lighting deficiencies

violated local, State, and/or Federal. codes-and regulations. ae
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14.
15.
16.

18.

20. -

Defendant was under a legal obligation to use ordinary care to ensure that. the

premises, its facilities, and means of egress were.reasonably'safe for all invitees.

An ‘ambulance arrived ‘and ‘transported Plaintiff to the: Maine. Medical Center

Emergency Department.

Plaintiff presented with an obvious: deformity to his right ‘humerus ‘and a left.

shoulder deformity.

Emergency room physicians stabilized the Plaintiff and: diagnosed him with two -
displaced fractures int his right arm anda non-displaced fracture of his left arm mand
referred him to orthopedic specialists.

The bene fractures caused by the Defendant required open-reduction and internal

fi xation surgery.
Pleat has continued treatment with additional health, care providers, and accrued —

over $180, 000. 00; in. n'tnedical costs to date.

Defendant’ s negligence caused Plaintiff to miss more : than twenty-eight (28) weeks

- of work : asa full-time truck driver, before he was cleared to be able to try: ‘and:

a return to. his position.

20.

22.

Since. the date: of the incident, Plaintiff has’ ‘complied. with his medical care

providers’ recommendations but continues to have: on-going impaitments and -pain ©
from the injuries.

As a result of the injuries Plaintiff sustained due to Defendant’s negligerice, he can - -

no longer perform: his day- to-day activities to ‘the level and extent that he -

_ previously. enjoyed and suffers. fiom permanent disability, chronic pain, and

emotional distress. |
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24.

25.

26.

27.

28.

29.

30.

COUNTI.
NEGLIGENCE. -

Plaintiff repeats and incorporates herein each anid every allegation and averment
contained in Paragraphs 1 through 22 of this Complaint as though fully set forth
herein.

Plaintiff was lawfully on the Defendants” property as a cuistomer.

Defendant owed a ec duty to cocise reasonable care to. rere at

invitees.

Defendant owed Plaintiff the duty to use ordinary and reasonable care to inspect .

and ensure that the premises upon which. it conducted its business were reasonably

. safe fori its intended purpose and to ) guard against all known and/or reasoriably

foreseeable dangers.

Defendant owed Plaintiff a. duty to use.reasonable care, which incorporates a duty-

to warn of dangerous ‘conditions and to perform appropriate maintetiance and.

repair of unreasonably hazardous conditions on the = property.

Defendants and or their agents knew or should: have known that t the condition of

oe the structure, whieh caused j injuries to the Plaintiff, v was not safe.

Defendant breached its duties to Plaintiff.

Defendants’ breach of their: duties directly and proximately caused Plaintiff to

oo suffer and sustain € economic: and non-economic damages.
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. 31. Asa consequence of its wrongful conduct Defendant is is liable to Plaintiff in-an-:

teasonably- compensate him: for phys and mental injuries; Joss of earings, lost aig -
capacity, permanent impairment, loss of enjoyinent of life, past, present and future medical costs, .
. travel expenses, ‘and any ‘and all other damages to: the fullest measure allowed by law, together.

- » with « costs, and interest to the highest extent allowable by law, from the c earliest date allowable by .

- law.
"PLAINTIFF HEREBY 1 DEMANDS A TRIAL BY. JURY.
a -DATED thi 14 ay of Ma May 2025 4 in Portland, Maine ce
we Christa F stShESt, Bar No. 9086.
, C Foster Law PLLC

217 Commeércial Street, Suite 402.
_ Portland, ME 04101: oe
-: (207) 536-2206 phone- -
. (207) 770-4702 fax
cfoster@ccfosterlaw.com

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This summary sheet and the information it contains ‘do not replace or supplement the filing and service eof. pleadings c or ‘other ‘papers
‘as required by: the Maine Rules-of by] law. ‘This form is required for the Clerk of Court to initiate or update the civil docket. The.
/ information c ‘on-this summary, sheet is ‘subject to the. requirements of M. R. Civ. Pe il.

I. COUNTY. OF FILING OR DISTRICT COURT JURISDICT iON ('x" the appropriate box a and enter the County or: location) .
~~ J Superior Court County: Cumberland _
, Ly District Court Location (city/town):

* Initial Complaint: A. complaint filed as an- original |

. ob proceeding. A filing fee is required, :
ih NATURE OF THE FILING - | ‘Third-Party Complaint: An original defendant’s. |

me (I initial’ Complaint - . . ‘| action. against a third party that was not part of — |
‘{] Third-Party Complaint. Bs _ o-- --[ the original proceeding. A filing fee is required. |
oO Cross-Claim. or Counterclaim a Ue | Cross-Claim:.An original defendant’s claim
[| Reinstated or Reopéned « case : .| against. another origirial: defendant. No’
Docket No.: -. . ' additional fee is required: __ .
if filing a-second-or subsequent Money Judgment Disclosure, @ give: ethe- Counterclaim: An original defendant's claim ..

docket number of the first disclosure. de +} against opposing: party. No. ‘additional fee is”
require

| Reinstated or Reopened Case: Money Judgment
[Disclosures or best judgmanemétions. oo :

MW Cr REAL ESTATE OR’ TITLE TO. REAL. ESTATE 18: INVOLVED.

iv... MOS DEFINITIVE NATURE-OF ACTION .
: ( “X” in ONE box if the case fit ts.n more 2 than one nature of. ‘action, select the: one’ ‘that best describes the cause of action. ).

GENERAL, civil

| Statutory Actions REALESTATE.
Constitutional/Civil ‘Rights ~~ Tf Freedom of Access os Foreclosures so
J Constitutional/Civil Rights . _ Cy other Statutory Action: - [7] Foreclosure (ADR exempt)

“LJ Domestic Tort -
.. [Medical Malpractice —
~] Other Negligence -
[J Other Personal injury Tort

CJ Product Liability ,

BE X] Property Negligence —

[J] Administrative: Agency (80C)
{_} Governmental Body: (808) .
(J other Appeal,

Contract: ss “Ey Unfair-Trade Practice EI. Foreclosure (Diversion eligible)
["] Debt Collection brought bya debt '~ ‘Miscellaneous Civil a Cl. Foreclosure (Other)
‘eollector.as defined by 32 M.R.S..§ {_} Administrative Warrant. .--: Title Actlons
+ 11002 (Contract Case. Cover Sheet ‘Ey Appointment of Receiver : Cy Boundary. --
_ (CV-261) must be attached). -{] Arbitration Awards _ [] Basement
([] Other Contract (Contract Case {common tawHabeas Corpus’ © [_].Eminant Dornain
- Cover Sheet (CV-261) must:be- _ £-):priig-Forfetture 0-2 ~~ L*} Quiet Title”
_-_.attached) > ~E] Foreign Deposition. - . -:Miscellarieous Real-Estate
_ Declaratory/Equitable’ Relief” .” (7) Foreign Judgments {] Abandoried’ Road

[_]-Declaratory Judgment: EE iv Testing © : oo [| Adversé Possession
[].General Injunctive Relief... ~~ [], Land-Use Enforcement (80K). ... {] Equitable-Remedy |

_ (Jother Equitable Rélief - ~ [J Minor Settlements .. [2] Mechanics Lien.
Non-Personal Injury Torts — * LP other civil | [_| Nuisance
[_] Auto.Negligence |. '. £-}- Other Forfeiture/Property. Libeb- F] Other Real Estate
J Libel/Defamation ‘ G Pré-Action Discovery . |. Partition. --
[_] Other Negligence © 1 [J] Prisoners-‘Transfers a. [| Trespass .

ot ‘Other Non-Personal lnjury Tort , Cy Shareholders’ Detivative Action

"Personal Injury Torts: . Be
[-] Assault/Battery -- Te - Oo ,
[_] Auto Negligence - . APPEALS (ADR EXEMPT). _ CHILD PROTECTIVE.CUSTODY

7 C. Non- DHHS Protective S Custody |

_ SPECIAL ACTIONS. ,
JO Money Judgment D Disclosure, oo

accéssibili /

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" Civil Summary Sheet... >

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| ADA. Notice: The ‘Maine judicial Branch complies with the ‘Americans with: Disabilities Act (ADA). i you needa Teasonable
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. WWW.courts:maine:gov.
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ve _ MLR. civ. P. 16B ALTERNATIVE DISPUTE RESOLUTION (apy . o. mo vee! ee
oO i certify that’ pursuant to M. R, Civ: P. 168(b), this case is exempt froma required ADR, process. because .
(“X” one box:below): ,
: O It.falls within an n exemption listed above: (iti is an appeal oran action: for non- payment of.anoteina secured
transaction)... ,

Bt The plainti or: defendant is incarcerated ir in a loca state, or federal facility.”

: _ that éencluded on:(date of, panel fi inding = mine
it The parties have participated | in a formal ADR: process. with. (name of neutral) _ Jo
on ‘(date ~ mm/dd/yyyy) - a
. ry The plaintiff's likely damages.will not'exceed $30,000, “snd the flake requests, an exemption.
. [] The action does not include ADR pursuant to 'M.R.-Civ. P. I6(a)(1). .
CO There is: other good cause. for an exemption : and ‘the plaintiff-has filed. a motion for exemption,

"Vi, PARTY AND: ATTORNEY CONTACT INFORMATION . mot . uo
if you need additional space, fist additiona! partieson: an- rattachment: and note "see attachment" i inthe appropriate section,

Please note: if a party isa: government agency, use the ful agency name or. the standard ‘abbreviation. ‘lf the e party ,

(a) PLAINTIEF(S)
(“X” the box below t to indicate the party: type ¢ associated with the fling)
Plaintiffs)
[-]} Third-Party Plaintiff(s)
_ .[-] Counterclaim Plaintiff(s)
, C Cross-Claim Plaintiff(s)

Is the plaintiff a prisoner in a local, state, or federal facil? Cy Yes Br No a

_ _ Name. (first, middle initial, last): Robert Collett .

Mailing address (include county): 22 Bonny Bank Terrace ,

. - ‘South Portland, ME 04106. a
‘Telephone:. 207- -939- 7086. se Oo bee

Emails, oo . :

Name (first, middle initial, last);
“Mailing address (include county):

“Telephone:
Email: :

(b) ATTORNEY(S) FOR R PLAINTIFE(S). oe
if there are multiple attorrieys, indicate the. lead attorney. ifall counsel do.not: tefresent ALL plaintifs, specity which
". plaintiff(s) the. listed’ attorney{s) represents, Tt tone a pe :

‘Name and bar.number: Christian ‘C. Foster, Bar 40036 _ _
Firm name: -.C FosterLaw, PLLC  ... ao
. Malling Address:. 217 Commercial Steet, /Suite 302 - __
Portland, ME_04401.
“Telephone: "207-536. :2206- oe
_ Email: cfoster@ccfosterlaw.com:

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’ 1 accommodation contact the Court Access Coordinator. accessibili vi courts, maine, fOV, OF a court clerk.
{ Language Services:. For languagea assistance and: interpreters, contact a court clerk or: rinterD reters \courts.maine: aV..

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- Civil Summary Sheet. . en ee ee I .

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Name.and bar number:
Firm name:
Mailing Address:

Telephone:.. °
- Email;

(c) DEFENDANT(S)

(‘X” the box below to. indicate the party type associated with the filing).
[X] Defendant(s)

["] Third-Party Defendant(s)

[-] Counterclaim Defendant(s)

J cross-Claim Defendant(s)

Is the defendant.a prisoner in a local, state, or federal facility? o Yes No Les

Name (first, middle. initial, last): Walgreen Eastern Co.., Inc.. Store, # 19678.
Mailing address, (include county): 279 Main Street:
South Portland, ME 04706 _

Telephone:
~ Email:

Name (first, middle initial, last):
Mailing address (include county):

Telephone:
Email:

(d) ATTORNEY(S) FOR DEFENDANT(S)
if there are multiple attorneys, indicate the lead attorney../f ail counsel do not represent ALL defendants, specify which
defendant(s) the listed attorney(s) represents.

Name and bar number:
Firm name:
Mailing Address:

Telephone:
“Email: |

"Name and bar number: .
Firm name:
Mailing Address:

Telephone:
Email: |

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(e) PARTIES N INTEREST

Name (first, middle initial, last}: :
_ Mailing. address {include county); ot

, “Telephone: =
~ Email:

Name (first middle initil, last):

Mailing address (inciude:county):

.. Telephone: . Co Te
2 Fait a 7 os

-(f) ATTORNEY(S) .
if there are multiple attorneys, indicate the lead sttomey. if ail counsel do: not represent ALL parties ir in interest, specify -
which parties in interest the listed attorney(s) represents, , -

, ‘Name and bar’ number:
Firmname: —__
Mailing Address:

_ Telephone:
Email: oo

“Name 2 and bar numbers. oe
oo ‘Firm name: coe
no Mailing Address: :

. Email: _ . + ——~

VIL RELATED casé(s): IRANY
oo Casename:_

' Docket. Number:
. Assigned Judge/Justce:

Date (mm/dd/yy); May 20,2026. 2 EN

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“Christian ©. Fodter, ‘Esq, —
ce Pr ted, vame of Plainti ar Attorney .

accommodation contact the. Court Access: Coordinatof,

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accessibility¢ courts. maine: Bov,, or a. court clerk.

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